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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


UNITED STATES OF AMERICA,et al.

                      Plaintiffs,

                                                 Civil Action No. I:23cv0I08(LMB/JFA)

GOOGLE LLC,

                      Defendant.



                                            ORDER


       On June 13, 2025, plaintiffs filed a motion for leave to file under seal appendix A and
exhibits 4 and 6-11 to plaintiffs' memorandum in support of motion to enforce the court's May

30 order and to compel production of defendant's remedy feasibility submissions to the

European Commission, as well as portions of the memorandum in support of the motion.
(Docket no. 1479). In the memorandum in support ofthe motion to seal, plaintiffs state that the
information sought to be sealed is based on defendant designating that information as

confidential. (Docket no. 1480). Defendant has filed a response to the motion to seal. (Docket

no. 1506). No other person or entity has filed a response or objection to this motion to seal.
       Defendant's response seeks to have only the information redacted on pages 2 and 10-12

of plaintiffs' memorandum in support of their motion to remain under seal. Defendant requests

that exhibits 4 and 7-11 remain under seal stating that the information in those documents

contains attorney work product and non-public, commercially sensitive information. Defendant

has filed a redacted version of appendix A (privilege log) in the public record in which only the

names of Google employees are redacted. Finally, defendant has filed a redacted version of
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exhibit 6 in the public record in which only one sentence is redacted that contains information

related to settlement discussions.

       This motion to seal concerns materials submitted to the court for review on a motion to

compel and therefore any information to be filed under seal must satisfy the "common law"

standard discussed in Va. Dep'l ofState Police v. Wash. Post, 386 F.3d 567, 575 (4th Cir. 2004).

Having reviewed plaintiffs' memorandum in support of their motion to compel and the appendix

and exhibits attached to that memorandum, it appears that the infonnation specified by defendant

in its response contains non-public, confidential information of a sensitive nature and certain

personal information of some of defendant's employees. Accordingly, the court finds that for

the purposes of this motion, that information may remain under seal at this time. For these

reasons, it is hereby

         ORDERED that the motion to seal is granted in part and denied in part. The court finds

that the information that was redacted on pages 2 and 10-12 of plaintiffs' memorandum in

support of their motion to compel should remain under seal. Plaintiffs shall file in the public

record a version of their memorandum that includes the information that had previously been

redacted on pages 5, 8, 9, and 14. The court also finds that exhibits 4 and 7-11 shall remain

under seal. Finally, the court finds that the redactions proposed by defendant in appendix A and

exhibit 6 are appropriate and that redacted versions of those exhibits have been filed in the public

record by defendant.

        Entered this 24th day of June, 2025.
                                                       John F. Anderson
                                                       United States Magistratfl ,hTdgg
                                                     John F. Anderson
Alexandria, Virginia                                 United States Magistrate Judge
